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UNITED STATES DISTRICT COURT SOUTHERN DISTRICT OF TEXAS

Motion and Order for Admission Pro Hac Vice

Division Select the Division Case Number 4:19-cr-00148

United State

| versus

Gonzalo Jose Jorge Morales-Divo

Lawyer’s Name Andrew H Kaufman
Firm Stephen E Kaufman, P.C.
Street 277 Park Avenue, 47th Fl
City & Zip Code NY 10172
Telephone & Email (212)826-0820
Licensed: State & Number akaufman@sekpc.com
Federal Bar & Number New York Bar No. 577842
Name of party applicant seeks to Gonzalo Jose Jorge Morales-Divo
appear for:
Has applicant been sanctioned by any bar association or court? Yes No ¥

On a separate sheet for each sanction, please supply the full particulars.

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Dated: t/' 3 /- /4 Signed: AA

The state bar reports that the applicant’s status is: Ch [- 4 Lh.
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ate | CG erk’s signature | {Qf Dx

Order

Dated: a] ha

/ United States ict Judge

